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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :        Case No.: 21-CR-0738 (BAH)
                                             :
MICHAEL OLIVERAS,                            :
                                             :
               Defendant.                    :

            UNITED STATES’ REPORT AND POSITION REGARDING
     PUBLIC RELEASE OF VIDEO EVIDENCE RE: MICHAEL OLIVERAS PLEA

       Per this Honorable Court’s January 25, 2023, Minute Order, the United States will make

the following video evidence available to the Court electronically:

 No. File Name                          App’x          Source         Description
                                        Length
 1    “IMG_6441”                        31 seconds     Oliveras       Facts described in ¶ 11 of
                                                                      Statement of Offense.

                                                                      Oliveras videoing the former
                                                                      president speaking at the “Stop
                                                                      the Steal” rally.
 2    “Fight with police”               1 minute, 5    Open           Incident described in ¶ 12 of
                                        seconds        source         Statement of Offense.
      https://archive.org/download/cx                  footage
      BcvdEiZHWpaxd5N/William_T                                       :14-:40 – rioters swarm line of
      urton_201_a_crow.mpeg4                                          officers who were walking
                                                                      toward Capitol and rioters
                                                                      initiate violent altercations

                                                                      :30 – rioters push officers
                                                                      backwards, away from Capitol

                                                                      :34 – physical altercations
                                                                      between rioters and officers

                                                                      :40 – Oliveras’ hands and arm
                                                                      (in a red sweatshirt) seen
                                                                      pushing into rioters pushing
                                                                      into police officers (bottom left
                                                                      of the screen)

                                                                      :42-:47 – Oliveras yelling,
                                                                      “HOLD THE FUCKING
                                                                      LINE” while pushing into
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                                                              rioters pushing into police
                                                              officers (red sweatshirt, red
                                                              baseball cap with two circle
                                                              pins, black backpack; bottom
                                                              left of the screen)
3   Oliveras First Entry _ Senate   23 seconds     U.S.       Facts described in ¶ 13 of
    Wing Door                                      Capitol    Statement of Offense.
                                                   Police
                                                              Oliveras entering the Capitol
                                                              building for the first time.
4   “IMG_6450”                      15 seconds     Oliveras   Facts described in ¶ 14 of
                                                              Statement of Offense.

                                                              Oliveras roaming through
                                                              hallway inside the Capitol,
                                                              yelling, “WHERE ARE THE
                                                              FUCKING TRAITORS?
                                                              DRAG THEM OUT BY
                                                              THEIR FUCKING HAIR!
                                                              WHERE ARE THE FUCKING
                                                              TRAITORS?” and another
                                                              rioter responds, “COME ON,
                                                              WHO’S FIRST?!”
5   “IMG_6451”                      16 seconds     Oliveras   Facts described in ¶ 14 of
                                                              Statement of Offense.

                                                              Oliveras videoing inside the
                                                              Capitol building, yelling
                                                              “DRAG THE FUCKING
                                                              TRAITORS OUT!”
6   Oliveras First Exit _ Senate    1 minute, 39   U.S.       Facts described in ¶ 15 of
    Wing Door                       seconds        Capitol    Statement of Offense.
                                                   Police
                                                              Oliveras being escorted out of
                                                              Capitol building for the first
                                                              time (:32), as officers attempt to
                                                              secure the area. Before leaving,
                                                              Oliveras turning and yelling at
                                                              officer (:42) and refusing to
                                                              leave until other rioter waves
                                                              him out (:53). Before climbing
                                                              out the window, Oliveras
                                                              watches officers attempt to
                                                              secure the doors.
7   Second entry _ Senate Wing      1 minute, 28   U.S.       Facts described in ¶ 16 of
    Door                            seconds        Capitol    Statement of Offense.
                                                   Police
                                                              Oliveas entering Capitol for
                                                              second time, shortly after the
                                                              second breach of the Senate


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                                                               Wing Door.
8    “Vid 3 _ PWhrExexrt7g_small”   21 seconds      Oliveras   Facts described in ¶ 18 of
                                                               Statement of Offense.

                                                               Oliveras standing in Senate
                                                               Wing Door entry blocked by
                                                               officers. Oliveras and rioters
                                                               chanting, “Whose house? Our
                                                               House!” Oliveras yells, “WE
                                                               WANT THOSE FUCKING
                                                               TRAITORS!” (:04) and
                                                               “PUSH!” (:19)

                                                               Sirens ringing in background.
9    “IMG_6458”                     31 seconds      Oliveras   Incident described in ¶ 19 of
                                                               Statement of Offense.

                                                               Shortly after police officers
                                                               gained control after the physical
                                                               altercation, Oliveras turned
                                                               around and videoed officers
                                                               attempting to clear the Capitol
                                                               grounds. He yells,
                                                               “EVERYTHING AROUND
                                                               HERE CHANGES FROM
                                                               THIS DAY FUCKING
                                                               FORWARD!”
10   Vanacore BWC                   2 minutes, 29   MPD        Incident described in ¶ 19 of
                                    seconds         Bodyworn   Statement of Offense.
                                                    Camera
                                                    (BWC)      BWC footage of officer
                                                    footage    involved in physical altercation
                                                               with rioters. After getting hit by
                                                               rioter, officer’s BWC falls to
                                                               the ground. At :41-:42, Oliveras
                                                               on the left side of the screen –
                                                               black pants with a white stripe,
                                                               red sweatshirt – with his arm
                                                               outstretched pushing.
11   Thornton BWC                   1 minute, 43    MPD        Incident described in ¶ 19 of
                                    seconds         Bodyworn   Statement of Offense.
                                                    Camera
                                                    (BWC)      BWC footage of officer
                                                    footage    involved in physical altercation
                                                               with rioters. Oliveras seen at
                                                               :42 (right side of the footage).
                                                               At :51, Oliveras facing officers
                                                               and pushing forward. Oliveras’
                                                               flag remaining visible, showing
                                                               his location and movement,


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                                                                  until 1:03. At 1:14, Oliveras’
                                                                  flag seen again, in the midst of
                                                                  rioters, fighting with officers.
12   Campanele BWC                    1 minute, 36   MPD          Incident described in ¶ 19 of
                                      seconds        Bodyworn     Statement of Offense.
                                                     Camera
                                                     (BWC)        BWC footage of officer
                                                     footage      viewing physical altercation
                                                                  between officers and rioters.
                                                                  Oliveras in the middle of the
                                                                  physical altercation, visible by
                                                                  his American flag waving in the
                                                                  air in the middle of the
                                                                  altercations, visible from 1:10-
                                                                  1:14. At 1:19, Oliveras moving
                                                                  away from officer line.
13   “Oliveras Youtube Video”         17 seconds     Open         Incident described in ¶ 19 of
                                                     Source       Statement of Offense.

                                                                  :03 - :09 – tail end of violent
                                                                  altercation on upper West
                                                                  terrace between line of officers
                                                                  attempting to clear rioters off
                                                                  the Capitol grounds and rioters
                                                                  refusing to leave. Oliveras
                                                                  falling away from the group
                                                                  after officers regained control.
14   “Vid 10 _ XkfUtKxIH2fQ”          46 seconds                  Incident described in ¶ 20 of
                                                                  Statement of Offense.

                                                                  Oliveras filming rioters
                                                                  breaking media equipment.
                                                                  Oliveras says “This is what
                                                                  happens to fake news.” (:16)
                                                                  and “FUCKING TRAITORS.
                                                                  GET THE FUCK OUT OF
                                                                  HERE. GET THE FUCK OUT
                                                                  OF HERE.” (:35)

     Neither party objects to the public release of the above-listed videos.

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           DC Bar No. 481052

                                    By:    /s/ Ashley Akers
                                           ASHLEY AKERS
                                           MO Bar No. 69601
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                                  CERTIFICATE OF SERVICE

       On January 26, 2023, a copy of the foregoing was served on counsel of record for

the defendant via the Court’s Electronic Filing System.


                                                   /s/ Ashley Akers
                                                   ASHLEY AKERS
                                                   Trial Attorney
                                                   Capitol Riot Detailee




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